                                                                           MOTION GRANTED: A telephone
                                                                           conference is hereby set for
                                                                           Tuesday, March 21, 2017, at 10:30
                             UNITED STATES DISTRICT COURT                  a.m. Counsel shall call
                             MIDDLE DISTRICT OF TENNESSEE                  1-866-390-1828 and enter 7884640#
                                                                           to be connected to the call.
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )        No. 3:15-cr-00191
       v.                                     )        Chief Judge Sharp
                                              )
PAMELA GARDNER                                )
TORVIS GARDNER                                )
DONALD J. BOATRIGHT                           )

                         MOTION TO SET STATUS CONFERENCE

       The United States of America, by and through David Rivera, United States Attorney, and

the undersigned Assistant United States Attorney, hereby moves this Court to set a status

conference in the above-referenced case. In support of this motion, the Government submits that

this case is currently scheduled for trial to begin on April 4, 2017 (D.E. 52), and because this

case involves approximately 80 hours of audio and video recordings, a status conference will

likely assist the parties in effectively allocating their respective resources and determining

whether the trial is likely to proceed as scheduled. Due to the time required to prepare this case

for trial, the Government respectfully requests that the Court schedule the status conference to be

held by March 16, 2017.




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